          Case 1:22-cr-00397-RC Document 5-1 Filed 05/16/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

             v.

 MIKHAIL PAVLOVICH MATVEEV,
                                                     Criminal No. 22-cr-397
 a/k/a “Wazawaka,”
 a/k/a “m1x,”
 a/k/a “Boriscelcin,”                                FILED UNDER SEAL
 a/k/a “Uhodiransomwar,”


                     Defendant.


                                      PROPOSED ORDER

       This matter having come before the Court pursuant to the application of the United States

to unseal the Indictment and related filings, the Court finds that, for good cause shown, the

application is hereby GRANTED.

       IT IS ORDERED that the Indictment, the instant Motion, this Order, other pleadings,

warrants, files, and records in this case be unsealed and the clerk is ordered to enter this case on

the public docket.




Dated: May 16, 2023
                                              UNITED STATES DISTRICT COURT JUDGE




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